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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

In re:                                      *               CHAPTER 7
                                            *
MARY TORRENCE WILLIAMS,                     *               Case No. 20-62464-wlh
                                            *
                              Debtor.       *

                              AMENDMENT TO SCHEDULES

         COMES NOW MARY TORRENCE WILLIAMS, debtor in the above-captions chapter 7

case (“Debtor”), by and through Counsel, and files this Amendment to Schedules and shows the

Court as follows:

         1.    Debtor would amend Schedule E/F, Creditors Who Have Unsecured Claims, to

include the following creditors as shown on the attached:

Comcast/Effectv (Arlington)                 Business Invoices            $ 7,654.07
P.O. Box 415949
Boston, MA 02241-5949

Comcast (Memphis)                           Business Invoices            $ 8,499.92
P.O. Box 415949
Boston, MA 02241-5949

Intuit QuickBooks Payments                  Business Invoices            $ 101,028.75
Attn: Collections
21650 Oxnard St, Suite 2200
Woodland Hills, CA 91367

KATZ-FM                                     Business Invoices            $ 9,741.00
3964 Collection Center Dr
Chicago, IL 60693-0039

Lamar Adv.                                  Business Invoices            $ 7,410.00
P.O. Box 96030
Baton Rouge, LA 70896

Miami Church Bulletin                       Business Invoices            $ 1,068.93
P.O. Box 2703
Schiller Park, IL 60176

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Miami Church Bulletin                    Business Invoices        $ 1,068.93
c/o Brent & Clark
721 E. Madison St, Suite 200
Villa Park, IL 60181

Mountain Times                           Business Invoices        $ 6,992.00
P.O. Box 1815
Boone, NC 28607

Outfront (Atlanta)                       Business Invoices        $ 1.00
185 US Hwy 46
Fairfield, NJ 07004

Pandora (Atlanta)                        Business Invoices        $ 17,021.33
25601 Network Pl
Chicago, IL 60673-1256

Pandora (Birmingham)                     Business Invoices        $ 4,182.84
25601 Network Pl
Chicago, IL 60673-1256

Pandora (Greenville)                     Business Invoices        $ 6,670.10
25601 Network Pl
Chicago, IL 60673-1256

Pandora (Memphis)                        Business Invoices        $ 6,692.41
25601 Network Pl
Chicago, IL 60673-1256

Pandora (Nashville)                      Business Invoices        $ 9,086.98
25601 Network Pl
Chicago, IL 60673-1256

Spectrum Reach f/k/a                     Business Invoices        $ 8,594.35
Time Warner Cable (Cary)
1633 Broadway, 39th Floor
New York, NY 10019

ValPak (Bham)                            Business Invoices        $ 2,250.00
805 Executive Center Dr West
St. Petersburg, FL 33702




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ValPak (Bham)                           Business Invoices        $ 2,250.00
c/o Cisco, Inc.
P.O. Box 801088
Houston, TX 77280-1088

ValPak (Memphis)                        Business Invoices        $ 2,250.00
805 Executive Center Dr West
St. Petersburg, FL 33702

ValPak (Memphis)                        Business Invoices        $ 2,250.00
c/o Cisco, Inc.
P.O. Box 801088
Houston, TX 77280-1088

WBLS-FM (Emmis Communications)          Business Invoices        $ 17,085.00
P.O. Box 842136
Boston, MA 02284-2136

WCJK-FM (Midwest Comm)                  Business Invoices        $ 1,783.65
P.O. Box 40506
Nashville, TN 37204

WCJK-FM (Midwest Comm)                  Business Invoices        $ 1,783.65
c/o Richard T Avis, Attorney
P.O. Box 31579
Chicago, IL 60631

WEGR-FM (iHeart)                        Business Invoices        $ 8,485.55
P.O. Box 406372
Atlanta, GA 30384-6372

WERQ-FM                                 Business Invoices        $ 12,325.00
1705 Whitehead Rd
Baltimore, MD 21207

WGFX-FM                                 Business Invoices        $ 4,772.75
3617 Momentum Pl
Chicago, IL 60689-5336

WIKS-FM                                 Business Invoices        $ 6,043.50
207 Glenburnie Dr
New Bern, NC 28560

WJXA-FM (Midwest Comm)                  Business Invoices        $ 1,794.35
P.O. Box 40506
Nashville, TN 37204

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WJXA-FM (Midwest Comm)                  Business Invoices        $ 1,794.35
c/o Richard T Avis, Attorney
P.O. Box 31579
Chicago, IL 60631

WKYS-FM (Radio One)                     Business Invoices        $ 13,493.75
8515 Georgia Ave
Silver Spring, MD 20910

WMMJ-FM (Radio One)                     Business Invoices        $ 2,576.25
8515 Georgia Ave
Silver Spring, MD 20910

WQOK-FM/WNNL (Radio One)                Business Invoices        $ 4,760.00
8001-101 Creedmoor Rd
Raleigh, NC 27613

WRBO-FM                                 Business Invoices        $ 7,055.00
3644 Momentum Pl
Chicago, IL 60689-5336

WROQ-FM                                 Business Invoices        $ 5,992.50
P.O. Box 92911
Cleveland, OH 44194

WSB-AM (Cox Media)                      Business Invoices        $ 5,610.00
P.O. Box 83191
Chicago, IL 60691-0191

WSB-FM (Cox Media)                      Business Invoices        $ 6,592.50
P.O. Box 83191
Chicago, IL 60691-0191

WSRV-FM                                 Business Invoices        $ 5,083.00
P.O. Box 83191
Chicago, IL 60691-0191

WSSL-FM (iHeart)                        Business Invoices        $ 16,765.40
P.O. Box 406372
Atlanta, GA 30384-6372

WUPA-TV (CW)                            Business Invoices        $ 23,617.25
P.O. Box 13837
Newark, NJ 07188-0837



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WWIN-FM                                      Business Invoices            $ 14,790.00
P.O. Box 603441
Charlotte, NC 28260-3441



       2.      Debtor would amend (Form 106Sum) Summary of Your Assets and Liabilities

and Certain Statistical Information as shown on the attached.

       WHEREFORE, Debtor prays:

       a)      That this Amendment be read, filed and considered; and

       b)      That the Court accord Debtor any other relief it deems mete and proper.

       Dated: June 22, 2020.
                                             ___________ /s/ ____________
                                             Angelyn M. Wright
                                             Georgia Bar No. 777662
                                             Attorney for Debtor

THE WRIGHT LAW ALLIANCE, P.C.
1244 Clairmont Road, Suite 222
P.O. Box 3576
Decatur, GA 30031
(404) 373-9933 Phone
(888) 900-0610 Fax
twlopc@earthlink.net




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 Fill in this information to identify your case:

 Debtor 1                     Mary Torrence Williams
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                NORTHERN DISTRICT OF GEORGIA

 Case number           20-62464-wlh
 (if known)
                                                                                                                                                         Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim           Priority           Nonpriority
                                                                                                                                              amount             amount
 2.1          Georgia Department of Revenue                          Last 4 digits of account number       6187                       $0.00              $0.00                 $0.00
              Priority Creditor's Name
              Bankruptcy Dept.                                       When was the debt incurred?
              P.O. Box 161108
              Atlanta, GA 30321
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        NOTICE ONLY




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                             Page 1 of 20
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 Debtor 1 Mary Torrence Williams                                                                           Case number (if known)            20-62464-wlh

 2.2        Internal Revenue Service                                 Last 4 digits of account number     6187                $1,893.00              $1,893.00                    $0.00
            Priority Creditor's Name
            P.O. Box 7346                                            When was the debt incurred?         2017
            Philadelphia, PA 19101-7346
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes                                                                          2017 Income taxes

 2.3        Internal Revenue Service                                 Last 4 digits of account number     6187                $1,942.00              $1,942.00                    $0.00
            Priority Creditor's Name
            P.O. Box 7346                                            When was the debt incurred?         2018
            Philadelphia, PA 19101-7346
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes                                                                          2018 Income taxes


 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 2 of 20
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 4.1      6th Avenue Capital                                         Last 4 digits of account number                                                          $109,973.80
          Nonpriority Creditor's Name
          ATX MCA Fund I LLC                                         When was the debt incurred?           1/8/2020
          805 Las Camas Pkwy, #350
          Austin, TX 78746
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Loan Guaranty


 4.2      Bank of America                                            Last 4 digits of account number       4358                                                  $2,307.33
          Nonpriority Creditor's Name
          P.O. Box 982238                                            When was the debt incurred?           Various dates
          El Paso, TX 79998-2238
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card charges


 4.3      Bank of America                                            Last 4 digits of account number       6315                                                  $4,633.22
          Nonpriority Creditor's Name
          P.O. Box 982238                                            When was the debt incurred?           Various dates
          El Paso, TX 79998-2238
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Advantage Business Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 3 of 20
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 4.4      BlueVine Capital, Inc.                                     Last 4 digits of account number                                                           $13,883.74
          Nonpriority Creditor's Name
          401 Warren St, Suite 300                                   When was the debt incurred?           1/21/2019
          Redwood City, CA 94063
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Loan Guaranty


 4.5      Capital One Bank (USA), N.A.                               Last 4 digits of account number       2712                                                  $1,127.93
          Nonpriority Creditor's Name
          P.O. Box 30281                                             When was the debt incurred?           Various dates
          Salt Lake City, UT 84130-0281
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card charges


 4.6      Capital One Bank (USA), N.A.                               Last 4 digits of account number       5910                                                  $4,793.50
          Nonpriority Creditor's Name
          P.O. Box 30281                                             When was the debt incurred?           Various dates
          Salt Lake City, UT 84130-0281
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card charges (VISA)




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                                                                                                           Various
                                                                                                           business
 4.7      Comcast (Memphis)                                          Last 4 digits of account number       invoices                                              $8,499.92
          Nonpriority Creditor's Name
          P.O. Box 415949                                            When was the debt incurred?           2019
          Boston, MA 02241-5949
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Invoice Nos. SW4254, SW6490, SW9512,
              Yes                                                       Other. Specify   SW10711


                                                                                                           Various
                                                                                                           business
 4.8      Comcast/Effectv (Arlington)                                Last 4 digits of account number       invoices                                              $7,654.07
          Nonpriority Creditor's Name
          P.O. Box 415949                                            When was the debt incurred?           2019
          Boston, MA 02241-5949
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Invoice Nos. ES2640809, ES2642290,
              Yes                                                       Other. Specify   ES2650191


 4.9      Don M. Roman, Sr.                                          Last 4 digits of account number                                                          $155,000.00
          Nonpriority Creditor's Name
          1462 Crooked Tree Cir.                                     When was the debt incurred?           2/25/2019
          Stone Mountain, GA 30088
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Loan




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 4.1
 0        FNB Omaha                                                  Last 4 digits of account number       4421                                                  $4,028.20
          Nonpriority Creditor's Name
          1620 Dodge St                                              When was the debt incurred?           Various dates
          Omaha, NE 68197-0003
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card charges


 4.1
 1        Intuit QuickBooks Payments                                 Last 4 digits of account number       7517                                               $101,028.75
          Nonpriority Creditor's Name
          Attn: Collections                                          When was the debt incurred?
          21650 Oxnard St, Suite 2200
          Woodland Hills, CA 91367
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Chargeback Case #146284061


 4.1
 2        Kabbage, Inc.                                              Last 4 digits of account number       7634                                                $21,257.74
          Nonpriority Creditor's Name
          PO box 77081                                               When was the debt incurred?           2016
          Atlanta, GA 30357
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Loan Guaranty




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                                                                                                           Various
 4.1                                                                                                       business
 3        KATZ-FM                                                    Last 4 digits of account number       invoices                                              $9,741.00
          Nonpriority Creditor's Name
          3964 Collection Center Dr                                  When was the debt incurred?           2019
          Chicago, IL 60693-0039
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Invoice Nos. 4514552551, 4514552571,
                                                                                         4514678092,
              Yes                                                       Other. Specify   4514678128, 4514830778, 4514830745


                                                                                                           Various
 4.1                                                                                                       business
 4        Lamar Adv.                                                 Last 4 digits of account number       invoices                                              $7,410.00
          Nonpriority Creditor's Name
          P.O. Box 96030                                             When was the debt incurred?           2019
          Baton Rouge, LA 70896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Invoice Nos. 110616593, 110804347,
                                                                                         110908216,
              Yes                                                       Other. Specify   110989488, 111076412


 4.1
 5        Lending Club                                               Last 4 digits of account number       3843                                                $16,795.15
          Nonpriority Creditor's Name
          71 Stevenson St., Suite 300                                When was the debt incurred?           2/2016
          San Francisco, CA 94105
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Loan - Guaranty



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 4.1
 6        Miami Church Bulletin                                      Last 4 digits of account number       5009                                                  $1,068.93
          Nonpriority Creditor's Name
          P.O. Box 2703                                              When was the debt incurred?           2019
          Schiller Park, IL 60176
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business vendor


 4.1
 7        Mountain Times                                             Last 4 digits of account number       4835                                                  $6,992.00
          Nonpriority Creditor's Name
          P.O. Box 1815                                              When was the debt incurred?           2019
          Boone, NC 28607
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business vendor


 4.1
 8        Outfront (Atlanta)                                         Last 4 digits of account number                                                                   $1.00
          Nonpriority Creditor's Name
          185 US Hwy 46                                              When was the debt incurred?           2019
          Fairfield, NJ 07004
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business vendor




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                                                                                                           Various
 4.1                                                                                                       business
 9        Pandora (Atlanta)                                          Last 4 digits of account number       invoices                                            $17,021.33
          Nonpriority Creditor's Name
          25601 Network Pl                                           When was the debt incurred?           2019
          Chicago, IL 60673-1256
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Invoice Nos. 11704476, 11716217, 11722238


                                                                                                           Various
 4.2                                                                                                       business
 0        Pandora (Birmingham)                                       Last 4 digits of account number       invoices                                              $4,182.84
          Nonpriority Creditor's Name
          25601 Network Pl                                           When was the debt incurred?           2019
          Chicago, IL 60673-1256
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Invoice Nos. 11704475, 11716211


                                                                                                           Various
 4.2                                                                                                       business
 1        Pandora (Greenville)                                       Last 4 digits of account number       invoices                                              $6,670.10
          Nonpriority Creditor's Name
          25601 Network Pl                                           When was the debt incurred?           2019
          Chicago, IL 60673-1256
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Invoice Nos. 11704477, 11716206, 11722212




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                                                                                                           Various
 4.2                                                                                                       business
 2        Pandora (Memphis)                                          Last 4 digits of account number       invoices                                              $6,692.41
          Nonpriority Creditor's Name
          25601 Network Pl                                           When was the debt incurred?           2019
          Chicago, IL 60673-1256
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Invoice Nos. 11704474, 11716229


                                                                                                           Various
 4.2                                                                                                       business
 3        Pandora (Nashville)                                        Last 4 digits of account number       invoices                                              $9,086.98
          Nonpriority Creditor's Name
          25601 Network Pl                                           When was the debt incurred?           2019
          Chicago, IL 60673-1256
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Invoice Nos. 11704478, 11716228, 11722236


 4.2
 4        Peachtree Offices                                          Last 4 digits of account number                                                           $18,150.00
          Nonpriority Creditor's Name
          3355 Lenox Rd NE, #750                                     When was the debt incurred?           12/18/2018
          Atlanta, GA 30326
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Commercial Lease




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                                                                                                           Various
 4.2                                                                                                       business
 5        Spectrum Reach f/k/a                                       Last 4 digits of account number       invoices                                              $8,594.35
          Nonpriority Creditor's Name
          Time Warner Cable (Cary)                                   When was the debt incurred?           2019
          1633 Broadway, 39th Floor
          New York, NY 10019
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Invoice Nos. INV-20438290, INV-20460071,
              Yes                                                       Other. Specify   INV-20465457


 4.2
 6        SZABO Assocs Inc.                                          Last 4 digits of account number                                                             $1,219.00
          Nonpriority Creditor's Name
          3355 Lenox Rd NE, #945                                     When was the debt incurred?           3/2017
          Atlanta, GA 30326
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection of company vendor obligation


 4.2
 7        USAA Savings Bank                                          Last 4 digits of account number       7667                                                  $4,687.30
          Nonpriority Creditor's Name
          PO Box 33009                                               When was the debt incurred?           Various dates
          San Antonio, TX 78265-3009
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card charges




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 4.2                                                                                                       Business
 8        ValPak (Bham)                                              Last 4 digits of account number       invoice                                               $2,250.00
          Nonpriority Creditor's Name
          805 Executive Center Dr West                               When was the debt incurred?           2019
          Saint Petersburg, FL 33702
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Invoice No. 165629


 4.2                                                                                                       Business
 9        ValPak (Memphis)                                           Last 4 digits of account number       invoice                                               $2,250.00
          Nonpriority Creditor's Name
          805 Executive Center Dr West                               When was the debt incurred?           2019
          Saint Petersburg, FL 33702
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Invoice No. 165630


                                                                                                           Various
 4.3      WBLS-FM (Emmis                                                                                   business
 0        Communications)                                            Last 4 digits of account number       invoices                                            $17,085.00
          Nonpriority Creditor's Name
          P.O. Box 842136                                            When was the debt incurred?           2019
          Boston, MA 02284-2136
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Invoice Nos. IN-11909132790,
                                                                                         IN-11910133485,
              Yes                                                       Other. Specify   IN-11911134121, IN-11912173




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                                                                                                           Various
 4.3                                                                                                       business
 1        WCJK-FM (Midwest Comm)                                     Last 4 digits of account number       invoices                                              $1,783.65
          Nonpriority Creditor's Name
          P.O. Box 40506                                             When was the debt incurred?           2019
          Nashville, TN 37204
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Invoice Nos. 107785-6, 108039-6


                                                                                                           Various
 4.3                                                                                                       business
 2        WEGR-FM (iHeart)                                           Last 4 digits of account number       invoices                                              $8,485.55
          Nonpriority Creditor's Name
          P.O. Box 406372                                            When was the debt incurred?           2019
          Atlanta, GA 30384-6372
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Invoice Nos. 2814223870, 2814223861,
                                                                                         2814376513, 2814376531, 2814597719,
                                                                                         2814597686, 2814640496, 2814631203,
              Yes                                                       Other. Specify   2814631168, 2814748376, 2814748396




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                                                                                                           Various
 4.3                                                                                                       business
 3        WERQ-FM                                                    Last 4 digits of account number       invoices                                            $12,325.00
          Nonpriority Creditor's Name
          1705 Whitehead Rd                                          When was the debt incurred?           2019
          Baltimore, MD 21207
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Invoice Nos. 569602-2, 569602-3, 569602-4,
              Yes                                                       Other. Specify   569602-5, 569602-6


                                                                                                           Various
 4.3                                                                                                       business
 4        WGFX-FM                                                    Last 4 digits of account number       invoices                                              $4,772.75
          Nonpriority Creditor's Name
          3617 Momentum Pl                                           When was the debt incurred?           2019
          Chicago, IL 60689-5336
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Invoice Nos. AA2160905, AA2190056


                                                                                                           Various
 4.3                                                                                                       business
 5        WIKS-FM                                                    Last 4 digits of account number       invoices                                              $6,043.50
          Nonpriority Creditor's Name
          207 Glenburnie Dr                                          When was the debt incurred?           2019
          New Bern, NC 28560
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Invoice Nos. IN-K-119095472,
                                                                                         IN-K-119105653,
              Yes                                                       Other. Specify   IN-K-119115802


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                                                                                                           Various
 4.3                                                                                                       business
 6        WJXA-FM (Midwest Comm)                                     Last 4 digits of account number       invoices                                              $1,794.35
          Nonpriority Creditor's Name
          P.O. Box 40506                                             When was the debt incurred?           2019
          Nashville, TN 37204
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Invoice Nos. 108038-6, 108041-6


                                                                                                           Various
 4.3                                                                                                       business
 7        WKYS-FM (Radio One)                                        Last 4 digits of account number       invoices                                            $13,493.75
          Nonpriority Creditor's Name
          8515 Georgia Ave                                           When was the debt incurred?           2019
          Silver Spring, MD 20910
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Invoice Nos. 538547-8, 538547-9, 538547-10,
              Yes                                                       Other. Specify   538547-11, 538547-12


 4.3                                                                                                       Business
 8        WMMJ-FM (Radio One)                                        Last 4 digits of account number       invoice                                               $2,576.25
          Nonpriority Creditor's Name
          8515 Georgia Ave                                           When was the debt incurred?           2019
          Silver Spring, MD 20910
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Invoice No. 2814960748




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Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
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 Debtor 1 Mary Torrence Williams                                                                         Case number (if known)         20-62464-wlh

                                                                                                           Various
 4.3                                                                                                       business
 9        WQOK-FM/WNNL (Radio One)                                   Last 4 digits of account number       invoices                                              $4,760.00
          Nonpriority Creditor's Name
          8001-101 Creedmoor Rd                                      When was the debt incurred?           2019
          Raleigh, NC 27613
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Invoice Nos. 572851-3, 598500-1


                                                                                                           Various
 4.4                                                                                                       business
 0        WRBO-FM                                                    Last 4 digits of account number       invoices                                              $7,055.00
          Nonpriority Creditor's Name
          3644 Momentum Pl                                           When was the debt incurred?           2019
          Chicago, IL 60689-5336
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Invoice Nos. AA2105928, AA2139838,
                                                                                         AA2189271,
              Yes                                                       Other. Specify   AA2224904, AA2248035


                                                                                                           Various
 4.4                                                                                                       business
 1        WROQ-FM                                                    Last 4 digits of account number       invoices                                              $5,992.50
          Nonpriority Creditor's Name
          P.O. Box 92911                                             When was the debt incurred?           2019
          Cleveland, OH 44194
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Invoice Nos. 1355436-1, 1355436-2



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 Debtor 1 Mary Torrence Williams                                                                         Case number (if known)         20-62464-wlh

                                                                                                           Various
 4.4                                                                                                       business
 2        WSB-AM (Cox Media)                                         Last 4 digits of account number       invoices                                              $5,610.00
          Nonpriority Creditor's Name
          P.O. Box 83191                                             When was the debt incurred?           2019
          Chicago, IL 60691-0191
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Invoice Nos. 512460-7, 512460-8


                                                                                                           Various
 4.4                                                                                                       business
 3        WSB-FM (Cox Media)                                         Last 4 digits of account number       invoices                                              $6,592.50
          Nonpriority Creditor's Name
          P.O. Box 83191                                             When was the debt incurred?           2019
          Chicago, IL 60691-0191
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Invoice Nos. 553387-5, 512511-8, 512511-9,
              Yes                                                       Other. Specify   553387-6


                                                                                                           Various
 4.4                                                                                                       business
 4        WSRV-FM                                                    Last 4 digits of account number       invoices                                              $5,083.00
          Nonpriority Creditor's Name
          P.O. Box 83191                                             When was the debt incurred?           2019
          Chicago, IL 60691-0191
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Invoice Nos. 512502-7, 512502-8




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 Debtor 1 Mary Torrence Williams                                                                         Case number (if known)         20-62464-wlh

                                                                                                           Various
 4.4                                                                                                       business
 5        WSSL-FM (iHeart)                                           Last 4 digits of account number       invoices                                            $16,765.40
          Nonpriority Creditor's Name
          P.O. Box 406372                                            When was the debt incurred?           2019
          Atlanta, GA 30384-6372
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Invoice Nos. 2214409833, 2214527129,
                                                                                         2214657732,
              Yes                                                       Other. Specify   2214818099, 2214965853


                                                                                                           Various
 4.4                                                                                                       business
 6        WUPA-TV (CW)                                               Last 4 digits of account number       invoices                                            $23,617.25
          Nonpriority Creditor's Name
          P.O. Box 13837                                             When was the debt incurred?           2019
          Newark, NJ 07188-0837
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Invoice Nos. 330013352, 330014032


                                                                                                           Various
 4.4                                                                                                       business
 7        WWIN-FM                                                    Last 4 digits of account number       invoices                                            $14,790.00
          Nonpriority Creditor's Name
          P.O. Box 603441                                            When was the debt incurred?           2019
          Charlotte, NC 28260-3441
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Invoice Nos. 569592-1, 569592-2, 569592-3,
              Yes                                                       Other. Specify   569592-4


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 18 of 20
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 Debtor 1 Mary Torrence Williams                                                                         Case number (if known)          20-62464-wlh
 Part 3:       List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 6th Avenue Capital                                            Line 4.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 420 Lexington Ave, #2450                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 New York, NY 10107
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Celtic Bank Corporation                                       Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 268 South State St, Suite 300                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Salt Lake City, UT 84111
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Miami Church Bulletin                                         Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Brennan & Clark                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 721 E. Madison St, Suite 200
 Villa Park, IL 60181
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 USAA Credit Card Services                                     Line 4.27 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 65020                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 San Antonio, TX 78265-5020
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 ValPak (Bham)                                                 Line 4.28 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Cisco, Inc.                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. Box 801088
 Houston, TX 77280-1088
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 ValPak (Memphis)                                              Line 4.29 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Cisco, Inc.                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. Box 801088
 Houston, TX 77280-1088
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 WCJK-FM (Midwest Comm)                                        Line 4.31 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Richard T Avis, Attorney                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. Box 31579
 Chicago, IL 60631
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 WJXA-FM (Midwest Comm)                                        Line 4.36 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Richard T Avis, Attorney                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. Box 31579
 Chicago, IL 60631
                                                               Last 4 digits of account number


 Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
 Total
 claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                          6b.       $                     3,835.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                         0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                         0.00

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 19 of 20
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                        6e.   Total Priority. Add lines 6a through 6d.                                 6e.      $                 3,835.00

                                                                                                                        Total Claim
                        6f.   Student loans                                                            6f.      $                     0.00
 Total
 claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                    6g.      $                     0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts        6h.      $                     0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount     6i.
                              here.                                                                             $              715,626.04

                        6j.   Total Nonpriority. Add lines 6f through 6i.                              6j.      $              715,626.04




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 20 of 20
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 Fill in this information to identify your case:

 Debtor 1                   Mary Torrence Williams
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF GEORGIA

 Case number           20-62464-wlh
 (if known)
                                                                                                                                                                  Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             230,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              28,308.75

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             258,308.75

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $                8,676.80

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                3,835.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             715,626.04


                                                                                                                                     Your total liabilities $               728,137.84


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                6,541.32

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                7,033.97

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
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 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              3,835.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                  0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                  0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 3,835.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                        page 2 of 2
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STATE OF GEORGIA
COUNTY OF ROCKDALE

                                      VERIFICATION

        I, MARY TORRENCE WILLIAMS, petitioner in the foregoing petition, declare, under
penalty of perjury, pursuant to Bankruptcy Rule 1008, that the foregoing Amendment is true and
correct.

       Dated: June 21, 2020.



                                           /s/ Mary Torrence Williams______
                                           Mary Torrence Williams




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                                 CERTIFICATE OF SERVICE

        This is to certify that on June 22, 2020, the foregoing document was electronically filed
using the Bankruptcy Court’s Electronic Case Filing program, which sends a notice of this
document and an accompanying link to this document to the following parties who have
appeared in this case under the Bankruptcy Court’s Electronic Case Filing program:

       S. Gregory Hays, Chapter 7 Trustee
       ghays@haysconsulting.net, saskue@haysconsulting.net; GA32@ecfcbis.com

       Office of the United States Trustee     ustpregion21.at.ecf@usdoj.gov

       Ira L. Rachelson on behalf of ATX MCA Fund I, LLC
       irachelson@brawwlaw.com, brachelson@brawwlaw.com

I further certify that on June 22, 2020, I caused a copy of this document to be served via U.S.
First Class Mail, with adequate postage prepaid, on the parties set forth below and on the
attached Exhibit “A” at the address(es) shown for each.

       Mary Torrence Williams
       2518 Chimney Ridge Dr SW
       Conyers, GA 30094

       Capital One Auto Finance, a division of Capital One, N.A.
       4515 N Santa Fe Ave. Dept. APS
       Oklahoma City, OK 73118

I further certify that pursuant to Local Rule 9007-2(d) that I have this day served all creditors
added by amendment with all Notices previously served on all other creditors and interested
parties.

I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECCT.

Dated: June 22, 2020.
                                              /s/ Angelyn M. Wright
                                              Angelyn M. Wright
                                              Georgia Bar No. 777662
                                              twlopc@earthlink.net




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                       SUPPLEMENTAL CREDITOR LIST
                         In re: Mary Torrence Williams
                             Case No. 20-62464-wlh


                             Comcast/Effectv (Arlington)
                                 P.O. Box 415949
                              Boston, MA 02241-5949

                                 Comcast (Memphis)
                                  P.O. Box 415949
                               Boston, MA 02241-5949

                             Intuit QuickBooks Payments
                                   Attn: Collections
                             21650 Oxnard St, Suite 2200
                              Woodland Hills, CA 91367

                                     KATZ-FM
                              3964 Collection Center Dr
                               Chicago, IL 60693-0039

                                     Lamar Adv.
                                   P.O. Box 96030
                               Baton Rouge, LA 70896

                                Miami Church Bulletin
                                    P.O. Box 2703
                                Schiller Park, IL 60176

                               Miami Church Bulletin
                                  c/o Brent & Clark
                             721 E. Madison St, Suite 200
                                 Villa Park, IL 60181

                                  Mountain Times
                                   P.O. Box 1815
                                  Boone, NC 28607

                                 Outfront (Atlanta)
                                  185 US Hwy 46
                                 Fairfield, NJ 07004

                                  Pandora (Atlanta)
                                 25601 Network Pl
                               Chicago, IL 60673-1256

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                               Pandora (Birmingham)
                                 25601 Network Pl
                               Chicago, IL 60673-1256

                                Pandora (Greenville)
                                 25601 Network Pl
                               Chicago, IL 60673-1256

                                 Pandora (Memphis)
                                  25601 Network Pl
                               Chicago, IL 60673-1256

                                Pandora (Nashville)
                                 25601 Network Pl
                               Chicago, IL 60673-1256

                                Spectrum Reach f/k/a
                              Time Warner Cable (Cary)
                              1633 Broadway, 39th Floor
                                New York, NY 10019

                                    ValPak (Bham)
                             805 Executive Center Dr West
                               St. Petersburg, FL 33702

                                   ValPak (Bham)
                                    c/o Cisco, Inc.
                                  P.O. Box 801088
                               Houston, TX 77280-1088

                                  ValPak (Memphis)
                             805 Executive Center Dr West
                               St. Petersburg, FL 33702

                                 ValPak (Memphis)
                                    c/o Cisco, Inc.
                                  P.O. Box 801088
                               Houston, TX 77280-1088

                       WBLS-FM (Emmis Communications)
                              P.O. Box 842136
                           Boston, MA 02284-2136

                             WCJK-FM (Midwest Comm)
                                 P.O. Box 40506
                               Nashville, TN 37204

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                             WCJK-FM (Midwest Comm)
                             c/o Richard T Avis, Attorney
                                   P.O. Box 31579
                                  Chicago, IL 60631

                                 WEGR-FM (iHeart)
                                   P.O. Box 406372
                               Atlanta, GA 30384-6372

                                     WERQ-FM
                                 1705 Whitehead Rd
                                Baltimore, MD 21207

                                    WGFX-FM
                                 3617 Momentum Pl
                               Chicago, IL 60689-5336

                                    WIKS-FM
                                 207 Glenburnie Dr
                                New Bern, NC 28560

                             WJXA-FM (Midwest Comm)
                                  P.O. Box 40506
                                Nashville, TN 37204

                             WJXA-FM (Midwest Comm)
                             c/o Richard T Avis, Attorney
                                   P.O. Box 31579
                                  Chicago, IL 60631

                               WKYS-FM (Radio One)
                                   8515 Georgia Ave
                               Silver Spring, MD 20910

                               WMMJ-FM (Radio One)
                                   8515 Georgia Ave
                               Silver Spring, MD 20910

                         WQOK-FM/WNNL (Radio One)
                           8001-101 Creedmoor Rd
                             Raleigh, NC 27613

                                    WRBO-FM
                                 3644 Momentum Pl
                               Chicago, IL 60689-5336

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                                    WROQ-FM
                                  P.O. Box 92911
                                Cleveland, OH 44194

                               WSB-AM (Cox Media)
                                   P.O. Box 83191
                               Chicago, IL 60691-0191

                               WSB-FM (Cox Media)
                                   P.O. Box 83191
                               Chicago, IL 60691-0191

                                     WSRV-FM
                                   P.O. Box 83191
                               Chicago, IL 60691-0191

                                 WSSL-FM (iHeart)
                                   P.O. Box 406372
                               Atlanta, GA 30384-6372

                                 WUPA-TV (CW)
                                  P.O. Box 13837
                               Newark, NJ 07188-0837

                                     WWIN-FM
                                  P.O. Box 603441
                              Charlotte, NC 28260-3441




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